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TRUM Ue EMCI CM Ce LLMaRICeL Laver: foto

| United States Bankruptcy Court for the:

District of {

| aca
| Case number (if known): OAC Chapter you are filing under: | a0) “Ag ry & CO
O Chapter 7 | butt rd i : re ey
O Chapter 11 Q) Check if this is an

Q) Chapter 12 amended filing

TRavd

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Gar Identify Yourself
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name «Wea

Write the name that is on your — First name First name
government-issued picture
identification (for example,

your driver's license or Middle name Middle name
passport). 7 \ A O
me O

Bring your picture (a 7 Last name
identification to your meeting
with the trustee. ix (Sr. Jr. Il) Suffix (Sr., Jr. il, lil)

2. All other names you

have used in the last 8 First name First name
years
2 Middle name Middle name
Include your married or
maiden names and any Tat GS AEAD
assumed, trade names and ast.name
doing business as names.
Do NOT list the name of any First name First name
separate legal entity such as
a corporation, partnership, or Middle name Middle name
LLC that is not filing this
petition.
Last name Last name
Business name (if applicable) Business name (if applicable)
Business name (if applicable) Business name (if applicable)

3. Only thelast4digitsof G i = S OK RE

your Social Security
number or federal OR OR
Individual Taxpayer
Identification number
AITIN)

9xx — xx - 9 xx -— xx -

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Petition

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f-

L* Middle Name Last Nae
About Debtor 1:
4, Your Employer

Identification Number EN
(EIN), if any.

EIN

' §, Where you live

#¢ Aneotig ST

Page 2 of 9

Case number (if kaown)

Number Street

iy

Led Hpbi] NI OFFI.

{ Vida (gSe 1’

ty

if your mailing address is different from the one
above, fifEit in here. Note that the court will send
any notices to you ai this mailing address.

About Debtor 2 (Spouse Only in a Joint Case):

EIN

EIN”

lf Debtor 2 lives at a different address:

Number Street

State ZIP Cade

County

lf Debtor 2’s mailing address is different from
yours, fill it in here, Note that the court will send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City Siate ZIP Code City State ZIP Cade
Check one: Check one:

'g. Why you are choosing
this district to file for

bankruptcy ver the jast 180 days before filing this petition,

| have lived in this district longer than in any
other district.

CT i have another reason. Expiain.
(See 28 U.S.C. § 1408.)

Officiai Form 101

CJ Over the last 180 days before filing this aetition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

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Debtor 1 Siu SHIN Zz Lf loot

FisiName ~~ = Middle Name Last Name
CS Tell the Court About Your sornran6 oom

Case number (if known},

7. The chapter of the

Bankruptcy Code you

are choosing to file
under

a. How you will pay the fee

9. Have you filed for

No
bankruptcy within the
py lone District

ijast 8 years?

10,Are any bankruptcy

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing

() Chapter 7
[] Chapter 11
2 Chapter 12

pone 43

for Bankruptcy {Form 20103). Also, go te the top of page 1 and check the appropriate box.

{3 | will pay the entire fee when | file my petition. Please check with the clerk's office in your

local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your atterney may pay with a credit card or check

with a pre-printed address,

i need to pay the fee in installments. If you choose this option, sign and attach ihe
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

C) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only # your income is
lass than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in instatlments). If you choose this option, you must fill out the Application to Have the

‘Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

cases pending or being

filed by a spouse who is Cl Yes. Debtor
not filing this case with District

you, or by a business

partner, or by an
affiliate?

11, Do you rent your
residence?

Official Form 101

When
MM / DOS YYYY
District When
MM/ DOS YYYY
District When
MM/ DOIYYYY
G
When
MM/0D /YYYY
Debter
District When

MM/OD/YYYY

No. Goto line 12.

@s, Has your landlord obtained an eviction judgment against you?

[J No. Ga to line 12.

Case number

Case number

Case number

Relationship to you

Case number, if known

Relationship to you

Case number, if known,

C Yes. Fill out fnitial Statement About an Evictian Judgment Against You (Form 101A) and file it as

‘part of this bankruptcy petition.

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sor ySGM “Zuva seman

Firsl Name Middle Name Last Name

oe Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor No. Ge to Part 4.
of any full- or part-time -
business? Yes, Name and location of business

4 sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it

to this petition. City State IP Code

Name of business, if any

Number Street

Check the appropriate box fo describe your business:
LJ Health Gare Business (as defined in 17 U.S.C. § 101(27A))
q Single Asset Real Estate (as defined in 11 U.S.C. § 101(57B))
O Stockbroker fas defined in 11 U.S.C. § 101(53A))
L} Commodity Broker (as defined in 11 U.S.C. § 101(6)}

_O None of the above

43.Are you filing under fF you aré filing tinder Chapter 11, the court must know whether you are a-smaif business debtor ora debtor
Chapter 11 of the choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are
Bankruptcy Code, and a smail business debtor or you are choosing to proceed under Subchapter Vv, you must ailach your most
are you a smail business recent balance sheet, staiement of operations, cash-flow statement, and federal income tax return or if any of
debtor or a debtor as these documents do not exist, follow the procedure in 11 U.S.C. § 1116(4)(B).

defined by 11 U.S.C. § CJ No, | am not filing under Chapter 11.

1182(1}?
For a definition of smal CI No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the
business debtor, see Bankruptcy Code.

441U.S.C. § 101(51D).
CI Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the

Bankruptcy Code, and | do not choase to proceed under Subchapter V of Chapter 11.

C} Yes. lam filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Gankruptcy
Code, and 1 choose to proceed under Subchapter V of Chapter 41.

Cr Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

44. Do you own or have any 7
property that poses or is .
alleged to pose a threat Cl Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

if immediate attention is needed, why is if needed?

Where is the property?

Number Street

City State ZIP Gade

Official Form 101 Voluntary Petitlon for Individuals Filing for Bankruptcy page 4
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Dehtor 1 sw

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First Nam Middle Nama

Zuboat| _
a

Last Name

a Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number {if anown),

1s. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
aligible io file.

If you file anyway, the court
can dismiss your case, you
wiil lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 10%

About Debtor 1:

You must check one:

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

' t received a briefing fram an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| certify that ] asked for credit counseling
services from an approved agency, but was
unabie to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, atlach a separate sheet explaining

_ what efforts you made.te. obtain the briefing, why

you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankrupicy.

If the cour is safisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You musi fie a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

1 am not required to receive a briefing about
credit counseling because of:

C} Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C1 pisability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

OC) Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to recaive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C1 t received a briefing from an approved credit

counseling agency within the #80 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, Ihat you developed with the agency,

| recelved a briefing from an approved credit
counseling agency within the 180 days before j
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of Ihe certificate and payment
pian, if any.

i certify that 1 asked for credit counseling
services from an approved agency, but was
unabie to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining

_ what efforts you made to obtain the briefing, why

you were unabie to obtain it before you filed for
bankrupicy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still raceive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of Ine payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granled
onty for cause and is limited to a maximum of 15
days.

fam not required to receive @ briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ pisability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, cr
through the internet, even after |
reasonably tried to do so.

(} Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file &
motion for waiver of credit counseling with the coun.

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Bo Answer These Questions for Reporting

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First Name “Middle Name

Lait Name

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Case number tf Kiowa)

16. What kind of debts do

you have?

17, Are you filing under

48,

19,

20.

Chapter 7?

Do you estimate that
after any exempt
property is excluded and
administrative expenses
are paid that funds will
be available for
distribution to

unsecured creditors?

How many creditors do --
you estimate that you
owe?

How much do you
estimate your assets to
be worth?

How much do you
estimate your
liabilities to be?

Official Form 101

16a, Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 401(8) as
“incurred by an individual primarily for a personal, family, or househoid purpase.”

C) Ne. Go to line 16b.

(i Goa to line 17.
16). Are your debts primarily business debts? Gusiness debts are debis that you incurred ta obtain
money for a business or investment or through the operation of the business or investment.

[.) No. Go to fine 16e.
LJ Yes. Go to line 17.

1Gc. State the type of debts you owe thal are not consumer debts or business debts.

wf

No. | am not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distrioute to unsecured creditors?

C] Ne
CO] Yes

| 100-199
CQ) 200-999

CY $0-$50,000
$50,001-$100,000

Q $100,001-$500,000
$500,001-$1 million

QO $0-$50,000

- $50,001-$100,000
$100,001-$500,000
$500,001-$1 millian

(1) 4,000-5,000.....

OQ) §,001-10,000
C) 140,001-25,000

C) $1,000,001-$10 million

C) $10,000,004-$50 million
C) $50,000,001-$100 mitlion

C) $100,000,001-$500 million

C1 $1,000,001-$10 million

(J $10,000,001-$50 million
(1 $80,000,001-$100 million
CJ $100,000,001-$500 million

Voluntary Petition for individuals Filing for Bankruptcy

_ 0 25,007-80,000.

CJ 50,001-108,000
[) Mare than 100,000

C) $500,000,001-$1 billion

(1 $1,000,000,001-$10 billion
C4 $10,000,000,901-$50 billion
C] More thae’ $50 billion

C) $600,000,001-$3 billion

C1 $4,000,000,001-$10 billion
©) $10,000,000,001-$50 billion
(3 More than $59 billion

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, Petition Page 7of9
Debtor 1 \ A, . AD LU b D U Case number (i known),

Last Name
Ea Sign Below
NA .
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If i have chosen ta file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose ta proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is noi an altormey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can fesull in fines up to $250,000, or imprisonment for up to 20 years, or bath.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x x

Signature of Debtor 1 Signature of Debtor 2

Executed on Executed on
MM / OD /YYYY MM/ OO OFYYYY

if |, the attorney for the debtor(s) named in this petition, declare that | have informed the cebtor(s) about eligibility
For your attorney, if you are to proceed under Chapter 7, 11, (2, or 13 of tile 11, United States Code, and have explained the relief

represented by one available under each chapter for which the person is eligible. | alse certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b){4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
Aged to file thie page ee ee
pag x Date
Signature of Attorney for Debtor MM / DD OIYYYY

Printed name

Firm name

Number Street

City State ZiP Code
Contact phone Email address
Bar number State

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P
SUSAN ZU bp
Debtor 1 Z Case number tif known

tition Page 8of9

First Neme Middle Name

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Official Form 101

4 an /4ulsy x

Last Name

The law allows You, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could jose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual cankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the cules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself, To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with jong-term financial and legal
consequences?
O) Ne

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C] No

Yes

Did you pay or agree ta pay someone who is not an attorney to heip you fill out your bankruptcy forms?
No

“Yes. Name of Person .
Attach Bankruptey Petition Preparer’s Notice, Declaration, and Signature {Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understcod this notice, and } am aware that filing a bankruptcy case without an
aitorney may cause me to lose my rights or property if | do not properly handle the case.

Signaiure of Debtar 2

aA Date
¥, f 7 t
~ Al ZO Contact phone

s Signature of Debtor 1

Date rr
MM/ DD IYYYY

Contact phone

Cell phone Cell phone

Email address

Jomskall

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LIST OF CREDITORS

Under Federal Bankruptcy Rule 1007, you must include with your petition a list containing the
me and address of each entity included or to be included on Schedules D, E/F, G and H. You may use

the space below to list these parties and their addresses. (Add additional pages if necessary.)

S PSeniei #13) 200,08
FO. BoK Saf lake 7 UT SHIBS-OUSD)
Cas ital One 7] EPA,6A
3 727.0
can Dre, Charlee NC aSa7k-~ /OPR

Nidl / po
2083 Hivhel pha fel arent 7] 2rl 20
MVM, Alon

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LIN Mel Sh Pear le a a KF 26

iN I Lirdyrp Yr nie A? /. OC

IF Ph Iw )ohu Ae #3 Ne
Lal’ , CTP ment DEK
Chl fel ME 107 0

LANK of af
Ck, 70D.

Dee eh Feyust Chitote [PF 29 1d.ad
6 RERGS £200.00

SO Pant P) Neuere NT os, D2
